Case 2:17-cv-02026-LDW-GRB Document 1-1 Filed 04/06/17 Page 1 of 12 PageID #: 5




                    EXHIBIT A
Case 2:17-cv-02026-LDW-GRB Document 1-1 Filed 04/06/17 Page 2 of 12 PageID #: 6
Case 2:17-cv-02026-LDW-GRB Document 1-1 Filed 04/06/17 Page 3 of 12 PageID #: 7
Case 2:17-cv-02026-LDW-GRB Document 1-1 Filed 04/06/17 Page 4 of 12 PageID #: 8
Case 2:17-cv-02026-LDW-GRB Document 1-1 Filed 04/06/17 Page 5 of 12 PageID #: 9
Case 2:17-cv-02026-LDW-GRB Document 1-1 Filed 04/06/17 Page 6 of 12 PageID #: 10
Case 2:17-cv-02026-LDW-GRB Document 1-1 Filed 04/06/17 Page 7 of 12 PageID #: 11
Case 2:17-cv-02026-LDW-GRB Document 1-1 Filed 04/06/17 Page 8 of 12 PageID #: 12
Case 2:17-cv-02026-LDW-GRB Document 1-1 Filed 04/06/17 Page 9 of 12 PageID #: 13
Case 2:17-cv-02026-LDW-GRB Document 1-1 Filed 04/06/17 Page 10 of 12 PageID #: 14
Case 2:17-cv-02026-LDW-GRB Document 1-1 Filed 04/06/17 Page 11 of 12 PageID #: 15
Case 2:17-cv-02026-LDW-GRB Document 1-1 Filed 04/06/17 Page 12 of 12 PageID #: 16
